      Case 3:12-cv-00819-BK Document 20 Filed 01/10/13            Page 1 of 1 PageID 65


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

TREY SHINGLER,                              §
     Plaintiff                              §
                                            §      Case No. 3:12-cv-00819-P
vs.                                         §
                                            §
MICHAEL J. SCOTT, P.C.,                     §
    Defendant                               §

                     NOTICE OF SATISFACTION OF JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Notice is hereby given that judgment in this matter has been fully satisfied.


                                                   Respectfully submitted,


                                                   By: /s/ Noah D. Radbil
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                               CERTIFICATE OF SERVICE

       I certify that on January 10, 2013, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Northern District of Texas, Dallas Division,
using the electronic case filing system of the court.

                                                                    /s/ Lydia Bultemeyer
                                                                      Lydia Bultemeyer
